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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

 AMERICAN FEDERATION OF STATE,
 COUNTY AND MUNICIPAL EMPLOYEES,
 AFL-CIO, et al.,

                        Plaintiffs,

                           vs.                             Civil Action No. 1:25-cv-00596

 SOCIAL SECURITY ADMINISTRATION,
 et al.,

                      Defendants.

                                      NOTICE OF FILING

       Plaintiffs hereby file the declarations submitted in support of their Motion for a Temporary

Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705 Stay.



 Dated: March 7, 2025                         Respectfully submitted,

                                              _____________________________
                                              Alethea Anne Swift (Bar No. 30829)
                                              Mark B. Samburg (Bar No. 31090)
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                                              *
                                                  Admission to this Court pending
                                              +
                                                  Admitted pro hac vice
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                                   CERTIFICATE OF SERVICE

       I, Alethea Anne Swift, certify that I filed the foregoing document with the Clerk of Court

for the United States District Court for the District of Maryland, Northern Division, by using the

CM/ECF system, which sent a notice of such filing to all registered CM/ECF users who have

appeared in this case. I also emailed a copy of the motion and all its attachments to counsel at the

Department of Justice.


                                                                        /s/ Alethea Anne Swift
                                                                        Counsel for Plaintiffs
